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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
NENAD DURIC, )
Plaintiffs
Vv. No.
SCHNEIDER NATIONAL CARRIERS,
INC., and CECILVAL WILLIAMS )
Defendants.
COMPLAINT AT LAW
JURISDICTION AND VENUE
1, This is an action for negligence in the operation of a semi-tractor trailer truck by defendant

CECILVAL WILLIAMS, a citizen of Hartford, Connecticut, domiciled there with physical
presence and intent to remain in that state at the time of this filing, which resulted in bodily injury
to Plaintiff, NENAD DURIC, citizen of the State of Illinois, on June 4, 2018, at or near State
Highway Route 23, at or near milepost 52.60, in Sussex County, New Jersey.

2. Plaintiff NENAD DURIC resides at 4811 West Warwick Avenue, in the City of Chicago
and State of Illinois.

3. Defendant CECILVAL WILLIAMS resides in Hartford, Connecticut.

4. Defendant SCHNEIDER NATIONAL CARRIERS, INC., isa corporation domiciled in the
State of Wisconsin, doing business in the County of Cook, City of Chicago, and State of Illinois.
5. The amount in controversy for this action exceeds $75,000.00.

6. Jurisdiction of this Court is proper under 28 U.S.C. 1332.
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COUNT I
(Negligence v. Schneider National Carriers, Inc.)

NOW COMES the Plaintiff, NENAD DURIC, by and through his attorneys, TAXMAN,
POLLOCK, MURRAY & BEKKERMAN, LLC., and for Count I of his Complaint at Law against
defendant SCHNEIDER NATIONAL CARRIERS, INC., states:

1. On or before June 4, 2018, Plaintiff NENAD DURIC was a resident of the City of Chicago,
County of Cook, and State of Illinois.

2. On or before June 4, 2018, defendant CECILVAL WILLIAMS was a resident of Hartford,
Connecticut.

3. On June 4, 2018, and at all times relevant to this claim, defendant SCHNEIDER
NATIONAL CARRIERS, INC., was a foreign corporation actively doing business in Cook
County, Illinois, with its registered agent located at 208 South LaSalle Street, in Chicago, Illinois.
4. On June 4, 2018, and at all times relevant to this claim, defendant CECILVAL WILLIAMS
was an agent, apparent agent, employee, or servant of SCHNEIDER NATIONAL CARRIERS,
INC.

5. On June 4, 2018, Plaintiff NENAD DURIC was operating his 2019 Peterbilt semi-tractor
trailer southbound on State Highway 23 at or near milepost 52.60 in Sussex, New Jersey.

6. On June 4, 2018, defendant CECILVAL WILLIAMS was operating a 2016 Freightliner
semi-tractor trailer truck and was attempting to make a left turn out of a gas station to proceed
northbound on State Highway 23.

7. On June 4, 2018, the 2016 Freightliner semi-tractor trailer truck operated by CECILVAL
WILLIAMS was owned, operated, and/or managed by defendant SCHNEIDER NATIONAL

CARRIERS, INC.
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8. On June 4, 2018, defendant CECILVAL WILLIAMS was driving the 2016 Freightliner
semi-tractor trailer truck as an agent, apparent agent, employee, contractor, or servant of defendant
SCHNEIDER NATIONAL CARRIERS, INC., in furtherance of his work for defendant
SCHNEIDER NATIONAL CARRIERS, INC.

9. While driving the 2016 Freightliner semi-tractor trailer at the aforementioned time and
place, defendant CECILVAL WILLIAMS owed a duty of reasonable care in the operation of that
semi-tractor trailer in order to avoid colliding with, striking, or contacting other vehicles on the
roadway, including the vehicle in which Plaintiff, NENAD DURIC, was operating.

10. At that same time and place, the semi-tractor trailer truck operated by CECILVAL
WILLIAMS, as agent, apparent agent, servant, and/or employee of defendant SCHNEIDER
NATIONAL CARRIERS, INC., collided with, struck, and/or contacted the 2019 Peterbilt semi-
tractor trailer operated by NENAD DURIC.

11. On June 4, 2018, NENAD DURIC was injured.

12. At the aforementioned time and place, defendant SCHNEIDER NATIONAL CARRIERS,
INC., by and through its agent, apparent agent, employee, or servant CECILVAL WILLIAMS,
was then and there guilty of one or more of the following acts and/or omissions:

(a). Failure to exercise the degree of care and caution that a reasonable person under
similar circumstances would have exercised in the operation of the semi-tractor
trailer defendant was driving;

(b). Failed to keep an adequate or any lookout while driving the semi-tractor trailer;

(c). Failed to sound the horn while driving the semi-tractor trailer when use of the horn
was reasonably necessary to ensure the safety of others on the road;

(d). Failed to yield the right-of-way to vehicular traffic traveling northbound and
southbound on State Highway 23;

(ce). Improperly making a left turn so as to interfere with other vehicles traveling
northbound and southbound on State Highway 23;
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(f). Failed to signal his intention to make a left turn;

OR

(g). | Was otherwise negligent or careless.

13. One or more of these acts and/or omissions of SCHNEIDER NATIONAL CARRIERS,
INC., by and through its agent, apparent agent, employee, or servant CECILVAL WILLIAMS,
was a proximate cause of the contact between SCHNEIDER NATIONAL CARRIERS, INC.’s
semi-tractor trailer and the vehicle in which NENAD DURIC was operating.

14, Asa direct and proximate result of one or more of these acts and/or omissions by defendant
SCHNEIDER NATIONAL CARRIERS, INC., by and through its agent, apparent agent,
employee, or servant CECILVAL WILLIAMS, Plaintiff NENAD DURIC sustained severe and
permanent injury and has incurred extensive medical costs and procedures in being treated for said
injuries, has incurred lost wages, and further has and will in the future be prevented from attending
her usual, normal customary and occupation and customary affairs of life and also sustained and
will continue to sustain significant pain and suffering and disability.

WHEREFORE Plaintiff, NENAD DURIC, demands judgment against defendant
SCHNEIDER NATIONAL CARRIERS, INC., in a sum in excess of SEVENTY-FIVE
THOUSAND AND 00/100 DOLLARS ($75,000.00), plus costs.

COUNT II
(Negligence v. Cecilval Williams)

NOW COMES the Plaintiff, NENAD DURIC, by and through his attorneys, TAXMAN,

POLLOCK, MURRAY & BEKKERMAN, LLC., and for Count II his Complaint at Law against

defendant CECILVAL WILLIAMS., states:
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1-11. Plaintiff adopts and re-alleges Paragraphs One (1) through Eleven (11) of Count I of this
Complaint at Law as Paragraphs One (1) through Eleven (11) inclusive of this Count II, as though
fully set forth herein.
12. At the aforementioned time and placed, defendant CECILVAL WILLIAMS, individually,
and as an agent, apparent agent, servant, or employee of SCHNEIDER NATIONAL CARRIERS,
INC., was then and there guilty of one or more of the following acts and/or omissions:
(a). Failure to exercise the degree of care and caution that a reasonable person under
similar circumstances would have exercised in the operation of the semi-tractor
trailer defendant was driving;

(b). Failed to keep an adequate or any lookout while driving the semi-tractor trailer;

(c). Failed to sound the horn while driving the semi-tractor trailer when use of the horn
was reasonably necessary to ensure the safety of others on the road;

(d). Failed to yield the right-of-way to vehicular traffic traveling northbound and
southbound on State Highway 23;

(ce). Improperly making a left turn so as to interfere with other vehicles traveling
northbound and southbound on State Highway 23;

(f). Failed to signal his intention to make a left turn;

OR

(g). | Was otherwise negligent or careless.
13. | One or more of these acts and/or omissions of CECILVAL WILLIAMS was a proximate
cause of the contact between CECILVAL WILLIAMS: semi-tractor trailer and the vehicle in
which NENAD DURIC was operating.
14. As adirect and proximate result of one or more of these acts and/or omissions by defendant
CECILVAL WILLIAMS, Plaintiff NENAD DURIC sustained severe and permanent injury and
has incurred extensive medical costs and procedures in being treated for said injuries, has incurred

lost wages, and further has and will in the future be prevented from attending her usual, normal
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customary and occupation and customary affairs of life and also sustained and will continue to
sustain significant pain and suffering and disability.

WHEREFORE Plaintiff, NENAD DURIC, demands judgment against defendant
CECILVAL WILLIAMS in a sum in excess of SEVENTY-FIVE THOUSAND AND 00/100

DOLLARS ($75,000.00), plus costs.

Respectfully submitted,

By: /s/ Jonathan D. Treshansky

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